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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No 19-cv-00874-RBJ-MEH

   WARNER BROS. RECORDS INC., et al.,

          Plaintiffs,
   v.

   CHARTER COMMUNICATIONS, INC.,

         Defendant.
   ______________________________________________________________________________

                                      ORDER
   ______________________________________________________________________________

   Michael E. Hegarty, United States Magistrate Judge.

          Defendant has filed a Motion and Memorandum in Support to Amend the Scheduling

   Order. ECF 128. It seeks a fact discovery deadline of early 2021, expert designation and discovery

   deadlines of mid-2021, and a potential trial in late 2021. Plaintiffs respond with proposals that

   would set dates approximately six-to-eight months earlier, depending on whether Defendant

   asserts a safe-harbor defense under the Digital Millennium Copyright Act. The parties base their

   respective arguments on their own views of the anticipated tasks left to be performed in this case.

          I am acutely aware of the course of this case to date, and based on my experience, what

   likely lies ahead. This lawsuit was filed in late March 2019. For the forty-eight jury trials in this

   District in 2018 (the last year for which complete data is available), the average time to trial was

   slightly over thirty-four months. If this case was “average,” which it most certainly is not, trial

   would be expected around June 1, 2021. I do not intend to engage in a vain exercise of setting

   artificially short deadlines only to face additional requests for extension later in the case. This case

   merits at least an additional modest time to trial, hopefully to be held in 2021, which would still
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   make it a speedier trial than more than a third of those forty-eight trials in 2018. On top of all this

   is the current COVID-19 “crisis” which has thrown a wrench into everyone’s lives.

          For this reason, Defendant’s motion is granted in part and denied in part and the

   Scheduling Order is amended to reflect the following deadlines:

          Fact Discovery Deadline:                January 31, 2021

          Initial Expert Designations:            March 1, 2021

          Rebuttal Expert Designations:           April 15, 2021

          Expert Discovery Deadline:              June 1, 2021

          Dispositive Motion Deadline:            June 1, 2021

          Final Pretrial Conference:              August 2, 2021 at 10:00 o’clock a.m.

          Barring unforeseen circumstances (which seem to be becoming the norm), the parties

   should consider this schedule to be firm, and any conduct that I believe unreasonably interferes

   with it will be viewed with extreme prejudice.

          DATED at Denver, Colorado this 17th day of March, 2020.

                                                          BY THE COURT:




                                                          Michael E. Hegarty
                                                          United States Magistrate Judge
